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                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
                                              No. 3:23-CR-135
                   v.

                                              (JUDGE MANNION)
DAWN TROTTA,
           Defendant


                        WAIVER OF INDICTMENT

     1.    I understand that I am charged with a felony and, therefore,

that I have the right to have the case presented to a grand jury.         I

further understand that a grand jury consists of not less than sixteen (16)

nor more than twenty-three (23) members, at least twelve (12) of whom

must concur in the return of an indictment.            Thus, by waiving

indictment, I concede that had the case been presented to a grand jury,

an indictment would have been returned.

     2.    I am represented by attorney, Shelley L. Centini, Esquire. I

fully understand that I have the right to be represented by an attorney

at every stage of this proceeding and, if necessary, one will be appointed

to represent me.   I have discussed this matter with my attorney and am
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satisfied with her representation of me in this proceeding.

     3.    I fully understand this statement, consisting of two (2)

typewritten pages.



                                           SluUljj;i, CJatilw,
DAWN TROTTA                             SHELLEY L~ENTIN!, ESQ.
Defendant                               Counsel for Defendant




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